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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                          CRIMINAL NO. 4:08CV115-SA-DAS

JENNIFER L. MCGEE

                                              ORDER

       This matter is before the court on motion of the defendant for Brady materials, Rule 16

Material And Rule 26 Material (# 126). The court notes a plea agreement docketed on June 4,

2009 but will nevertheless address the pending motion. Having reviewed this document

concerning Rules 16 and 26, the court finds it more in the nature of a request to the government

for discovery pursuant to the Federal Rules of Criminal Procedure. Consequently, court

intervention is not necessary, and thus, the instant motion is hereby deemed moot. As for the

information sought pursuant to Brady v. Maryland, the court notes the government is under an

obligation to abide by the law as set forth in the decision, and that such evidence, if material, is

required under Brady to be produced at the “appropriate time.” Accordingly, the defendant’s

motion for early production pursuant to Brady v. Maryland is not well taken.

       IT IS, THEREFORE, ORDERED that the defendant’s motion for Brady materials, Rule

16 Material And Rule 26 Material (# 126) is hereby DENIED.

       SO ORDERED this, the 5th day of June 2009.



                                                                    /s/ David A. Sanders
                                                                     U. S. MAGISTRATE JUDGE
